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Local AO 450 (rev. )




                                              United States District Court
                                                       District of North Dakota

   The Religious Sisters of Mercy, et al.,
                                                                                  AMENDED
                              Plaintiffs,
                                                                             JUDGMENT IN A CIVIL CASE
   vs.

   Norris Cochran, Acting Secretary of the United                            Case No.       3:16-CV-386
   States Department of Health and Human Services,
   et al.,

                              Defendants.




              Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has rendered its
              verdict.

              Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a decision has
              been rendered.

              Decision on Motion. This action came before the Court on motion. The issues have been considered and a decision rendered.

              Stipulation. This action came before the court on motion of the parties. The issues have been resolved.

              Dismissal. This action was voluntarily dismissed by Plaintiff pursuant to Fed. R. Civ. P. 41(a)(1)(ii).

IT IS ORDERED AND ADJUDGED:
See attached.




      October 11, 2023
Date: __________________                                                      .$5,0.18'621, CLERK OF COURT
                                                                                 /s/ Shantel Jacobson, Deputy Clerk
                                                                             by:________________________________
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       ...

       JUDGMENT IS ENTERED in favor of the CBA Plaintiffs as to their claims under the

Religious Freedom Restoration Act (“RFRA”) challenging the interpretations of Section 1557 and

Title VII that require the CBA Plaintiffs to perform and provide insurance coverage for

gender-transition procedures.

       The Court DECLARES that Defendant, the U.S. Department of Health &

Human Services’ (“HHS”), interpretation of Section 1557 that requires the CBA Plaintiffs to

perform and provide insurance coverage for gender-transition procedures* violates their sincerely
held religious beliefs     without     satisfying       strict   scrutiny   under   the   RFRA.

Accordingly,    the   Court     PERMANENTLY ENJOINS AND RESTRAINS HHS,

Secretary Becerra, their divisions, bureaus, agents, officers, commissioners, employees, and

anyone acting in concert or participation with them, including their successors in office, from

interpreting or enforcing Section 1557 of the Affordable Care Act, 42 U.S.C. § 18116(a), or any

implementing regulations thereto against the CBA Plaintiffs in a manner that would require

them to perform or provide insurance coverage for gender-transition procedures, including by

denying federal financial assistance because of their failure to perform or provide insurance

coverage for such procedures or by otherwise pursuing, charging, or assessing any penalties,

fines, assessments, investigations, or other enforcement actions.

       The Court further DECLARES that Defendant the Equal Employment Opportunity

Commission’s (“EEOC”) interpretation of Title VII that requires the CBA Plaintiffs to

provide insurance coverage for gender-transition procedures violates their sincerely held

religious beliefs without satisfying strict scrutiny under the RFRA. Accordingly, the Court

PERMANENTLY ENJOINS AND RESTRAINS the EEOC, Chair Burrows, their

divisions, bureaus, agents, officers, commissioners, employees, and anyone acting in concert

or participation with them,

*
 As used in this judgment, the term “gender-transition procedures” includes surgery, counseling,
provision of pharmaceuticals, or other treatments sought in furtherance of a gender transition.
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including their successors in office, from interpreting or enforcing Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e et seq., or any implementing regulations thereto against the CBA

Plaintiffs in a manner that would require them to provide insurance coverage for gender-transition

procedures, including by denying federal financial assistance because of their failure to provide

insurance coverage for such procedures or by otherwise pursuing, charging, or assessing any

penalties, fines, assessments, investigations, or other enforcement actions.

        The relief provided in this order shall be restricted to the CBA Plaintiffs, anyone acting in

concert or participation with them, and their respective health plans and any insurers or third-party

administrators in connection with such health plans.

        Neither HHS nor EEOC violates this order by taking any of the above-described actions

against anyone acting in concert or participation with a CBA Plaintiff, or a CBA Plaintiff’s health

plans and any insurers or TPAs in connection with such health plans, if the agency officials directly

responsible for taking these actions are unaware of that entity’s relevant relationship to a CBA

Plaintiff.

        However, if either agency, unaware of an entity’s relevant relationship to a CBA Plaintiff,

takes any of the above-described actions, the relevant CBA Plaintiff may promptly notify a directly

responsible agency official of the fact of the entity’s relevant relationship to a CBA Plaintiff and

its protection under this order. Once such an official receives such notice from the CBA Plaintiff

the agency shall promptly comply with this order with respect to such related entity.

        Nothing in this Order shall prevent EEOC from:

        (1)    taking any action in connection with the acceptance of a charge for filing

        regardless of the source, including receiving an online inquiry via the agency’s Public

        Portal or requesting or receiving a questionnaire or other correspondence from the

        charging party, when the charge concerns an allegation against a CBA Plaintiff

        concerning the exclusion of gender-transition procedures from its insurance coverage;




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       (2)     accepting a charge alleging that a CBA Plaintiff does not provide insurance

       coverage for gender-transition procedures, and from entering the charge into EEOC’s

       computer systems;

       (3)     serving notice of the charge upon a CBA Plaintiff within ten days as required by

       42 U.S.C. § 2000e-5(b); or

       (4)     issuing a right-to-sue notice to a charging party who has filed a charge against a

       CBA Plaintiff concerning the exclusion of gender-transition procedures from its

       insurance plan in accordance with the requirements and procedures set forth in 42 U.S.C.

       § 2000e-5(b) & (f)(1) and 29 C.F.R. § 1601.28(a)(1) & (2).

       It is hereby ORDERED that any motion for attorneys’ fees and expenses filed by any

prevailing Plaintiff shall be filed within 60 days after the entry of this judgment.




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